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                                    July 15, 2020
Via ECF
Honorable Paul G. Gardephe
United States District Judge
Thurgood Marshall U.S. Courthouse
40 Foley Square
New York, NY 10007

       Re:    United States v. Avenatti, No. S1 19 Cr. 373 (PGG)
              Motion for an Adjournment of the Sentencing
              Date and Filing of Sentencing Submissions

Dear Judge Gardephe:

        Mr. Avenatti’s sentencing hearing is currently scheduled for August 19, 2020, having
been adjourned once previously. I write to respectfully request a second adjournment of the
sentencing date for approximately fifty (50) days, until the week of October 5-9, 2020, if the
Court’s schedule permits. Mr. Avenatti further requests a corresponding adjournment of the
dates for the defense and the government to file their sentencing submissions. The government
takes no position on this motion.
        As this Court is aware, on February 14, 2020, a jury found Mr. Avenatti guilty of the
three counts charged against him in the Superseding Indictment. At the time, Mr. Avenatti
was in custody pursuant to a remand order entered by United States District Judge James Selna
of the Central District of California. On April 24, 2020, Mr. Avenatti was temporarily released
to home confinement in California at the residence of a friend pursuant to conditions set by
Judge Selna in the wake of the COVID-19 pandemic. See United States v. Avenatti, Case No.
SA-CR-19-61-JVS (ECF No. 154:7).
        Mr. Avenatti remains under home confinement in Venice, California. Undersigned
counsel (Srebnick) is based in Miami, Florida. Both California and Florida have recently
experienced surges in COVID-19 infections; Miami is now considered the “epicenter” of the
virus in the United States. Trends in Florida and California are not encouraging.
       On June 24, 2020, Governor Cuomo issued Executive Order 205 (“EO-205”), which
requires all travelers to New York from states with COVID-19 infection rates above a certain
threshold to quarantine for 14 days upon arriving in New York. See Exhibit 1. On July 13,
2020, the New York Department of Health issued an Order requiring all travelers to New York
subject to EO-205 to complete a State Traveler Health Form to ensure compliance with EO-
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205. See Exhibit 2. Travelers from 22 states, including California and Florida, are currently
subject to EO-205. Failure to comply subjects violators to civil penalties.
       Thus, as matters currently stand, both Mr. Avenatti and undersigned counsel would be
required to travel to New York and quarantine for 14 days before a sentencing hearing in this
case. Likewise, any family member who wishes to attend Mr. Avenatti’s sentencing, or any
potential sentencing witness, would also be required to quarantine for 14 days. This would
place an unnecessary burden on undersigned counsel, Mr. Avenatti, and any attendees from
one of the 22 states.
        Mr. Avenatti’s trial in his second case in the Southern District of New York, United
States v. Avenatti, No. 19 Cr. 374, is currently scheduled to commence before Judge Furman
on Tuesday, October 13, 2020. We respectfully request, therefore, that the sentencing hearing
in the instant case be scheduled for the week prior (Oct. 5-9), if the Court’s schedule permits.
      Moreover, Mr. Avenatti respectfully requests that his sentencing submission be due 2-
3 weeks before any new sentencing date and that the government’s sentencing submission be
due one week after the due date for the defense submission.
       The trial prosecutors have advised that the government takes no position on this request.


                                            Respectfully Submitted,
                                            /s Scott Srebnick
                                            Scott A. Srebnick
                                            E. Danya Perry

cc: Government Counsel
